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                       Exhibit B
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   1                     IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
   2                              EASTERN DIVISION
   3    JACQUES RIVERA,                            ) No. 12 CV 4428
                                                   )
   4                Plaintiff,                     )
        vs.                                        ) Chicago, Illinois
   5                                               )
        REY GUEVARA, STEVE GAWRYS, DANIEL NOON,    )
   6    JOHN GUZMAN, JOSEPH FALLON, JOSEPH SPARKS, )
        PAUL ZACHARIAS, GILLIAN MCLAUGHLIN, JOHN   )
   7    LEONARD, EDWARD MINGEY, RUSSELL WEINGART, ) June 27, 2018
        ESTATE OF ROCCO RINALDI, CITY OF CHICAGO, )
   8                                               )
                    Defendants.                    ) 8:45 o'clock a.m.
   9
                                   VOLUME 17 A
  10                        TRANSCRIPT OF PROCEEDINGS
                     BEFORE THE HONORABLE JOAN B. GOTTSCHALL
  11                                and a jury
  12    APPEARANCES:
  13    For the Plaintiff:        LOEVY & LOEVY
                                  BY: MR. JONATHAN I. LOEVY
  14                                   MR. STEVEN E. ART
                                       MR. ANAND SWAMINATHAN
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  17                              MACARTHUR JUSTICE CENTER
                                  Northwestern University School of Law
  18                              BY: Locke E. Bowman, III
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  19                              Chicago, Illinois 60611
                                  (312) 503-0844
  20
  21
        Court reporter:               Blanca I. Lara
  22                            Official Court Reporter
                                 219 South Dearborn Street
  23                                   Room 2504
                                  Chicago, Illinois 60604
  24                                 (312) 435-5895
                                  blanca_lara@ilnd.uscourts.gov
  25
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   1    Appearances (continued:)
   2
   3
        For the Individual          THE SOTOS LAW FIRM
   4    Defendants:                 BY: MR. JEFFREY N. GIVEN
                                         MR. JAMES G. SOTOS
   5                                     MS. CAROLINE P. GOLDEN
                                         MR. JOSEPH M. POLICK
   6                                     MR. DAVID A. BRUEGGEN
                                    550 East Devon Avenue
   7                                Suite 150
                                    Itasca, Illinois 60143
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   9    For the Defendant           ROCK FUSCO & CONNELLY, LLC
        City of Chicago:            BY: MS. EILEEN E. ROSEN
  10                                     MS. CATHERINE M. BARBER
                                         MS. THERESA B. CARNEY
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                                    Suite 2200
  12                                Chicago, Illinois 60654
  13
        For the Defendant           LEINENWEBER BARONI & DAFFADA, LLC
  14    Guevara:                    BY: MR. THOMAS E. LEINENWEBER
                                         MR. JAMES V. DAFFADA
  15                                120 North LaSalle Street
                                    Suite 2000
  16                                Chicago, Illinois 60602
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                                               Loevy - closing
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              1    unseemly. They're going to blame a 12-year-old.
              2               And, you know, Mr. Gawrys went so far as to apologize.
              3    "I'm sorry for what Orlando did."
              4               You know, my wife and I have a silly thing we do when
11:21:15      5    we get in a fight and we make up. She says -- you know, I say,
              6    "I'm sorry you acted so badly." And she says, "I'm sorry
              7    you're such a jerk." You know, that's not an apology.
              8               Mr. Gawrys did not apologize. He apologized to a
              9    12-year-old. You know, he had a chance. And he was asked, "Do
11:21:28     10    you regret anything you did? Would you do anything different?
             11    Would you write your report differently?" "Nope, nope, nope.
             12    I stand by it. We did nothing wrong." They're all in. And
             13    they're all in, and they lose.
             14               So now let's talk about damages. And my colleague,
11:21:41     15    Mr. Bowman, is going to speak to you for a bit about damages.
             16    So I'm just going to say a little bit about it.
             17               There's two categories, punitive damages and
             18    compensatory damages. Punitive damages are punishment,
             19    deterrence, sending a signal. Compensatory damages are to make
11:21:54     20    Jacques whole. The compensatory damages are the far more
             21    serious, far bigger component of damages. If you hear nothing
             22    else, it's the compensatory damages that are ones that matter.
             23               The punitive damages, we're not seeking them against
             24    McLaughlin. We are seeking them against Gawrys and Mingey and
11:22:08     25    Guevara. And we would suggest punitive damages of an amount of
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                                               Loevy - closing
                                                                                         4227

              1    25,000 each. You might decide more; you might decide less.
              2    It's not for us to decide how much the damages are. It's for
              3    you. But in no event, more than a hundred thousand dollars.
              4    And that's important. So 25,000 to a hundred thousand dollars
11:22:24      5    for the punitive damages on the line for Gawrys, Mingey, and
              6    Guevara. That's up to you, and you'll do that.
              7               What I want to talk about, and what Mr. Bowman is
              8    going to talk about, is the compensatory damages, and that's
              9    the big component of damages. That's making Jacques whole.
11:22:36     10               As Mr. Bowman's going to explain, and he's real good
             11    at explaining these things, you can't give Jacques back what's
             12    taken from him. You can't do that. You would if you could,
             13    but you can't. So the way we do it in our system is you have
             14    to decide how you make someone whole, how you compensate them.
11:22:51     15    And it's crass to talk about it in money terms, but that's how
             16    you make someone whole. You decide what's a fair amount.
             17               And if an appropriate amount in a case like this is a
             18    million dollars to two million dollars per year, I would
             19    suggest to you that in Jacques Rivera's case, you should be
11:23:04     20    much closer to the higher end of that appropriate spectrum.
             21               This is a big case. This is an important case. This
             22    is a staggering case. You know, the things that were seen in
             23    this courtroom are basically unprecedented. And you absolutely
             24    can award $2 million a year. You don't -- $1 million a year
11:23:20     25    obviously is appropriate, too, but $2 million a year for -- he
